Case 1:21-cr-00013-RJL Document1-1 Filed 12 Case: 1:20-mj-00250
Assigned To : Faruqui, Zia M.
Assign. Date : 12/12/2020
Description: Complaint w/ Arrest Warrant

STATEMENT OF FACTS

On Friday, December 11, 2020, at approximately 4:36 p.m., members of the Metropolitan
Police Department (MPD) Narcotics and Special Investigations Division (NSID) Gun Recovery Unit
(GRU) were on patrol operating an unmarked vehicle dressed in casual attire wearing outer vests with
“POLICE” identifiers affixed to them, when they observed an individual, later identified as Leon
Wynder aka Leon Winder (Defendant Winder), holding the front of his waistband while walking
westbound in the 5400 block of D Street Southeast in Washington, D.C. alongside of another individual
(IT). Officers drove their vehicles into the block, one driving past the individuals to provide the second
vehicle a visual on Defendant Winder and IT. While the first vehicle of officers passed Defendant
Winder and IT, Defendant Winder turned away from that vehicle, facing the second vehicle, and
shoved an unknown object down into the front of his waistband with his hand. This action was noticed
by officers in the rear vehicle and it was voiced over the NSID radio to all members. It was then that
Defendant Winder appeared to notice the second vehicle of officers. Both Defendant Winder and IT
took off running away from officers. Officers pursued on foot. Defendant Winder fell while fleeing
and was stopped by officers in front of 5414 D Street Southeast. A pat down was conducted and officers
immediately felt a firearm in the front portion of Defendant Winder’s waistband. Defendant Winder
was placed under arrest.

IT was stopped in front of 5300 E Street Southeast, identified, and eventually released. While
stopped, IT spontaneously stated something to the effect of “I wasn’t the one with the iron.” Officers
know from prior knowledge that “iron” is a common street term for a firearm.

The firearm that was recovered was determined to be a black in color privately made firearm,
9 millimeter handgun with no model or serial number. When it was recovered, it was loaded with one
(1) round in the chamber and twenty-four (24) rounds in a twenty-four (24) round high capacity
magazine. There are no ammunition manufacturers in the District of Columbia. Therefore, the
ammunition in this case would have traveled in interstate commerce.

A criminal history check of Defendant Winder through the National Crime Information Center
(NCIC) confirmed that the defendant has a prior felony conviction for two counts of Attempt Robbery
While Armed with an Imitation Firearm in the Superior Court for the District of Columbia, case number
2014 CF3 3685. The defendant was sentenced to forty (40) months of incarceration for this offense
under the Youth Rehabilitation Act. The defendant has an additional felony conviction for Carrying a
Pistol without a License, case number 2012 CF2 8104. The defendant was sentenced to twenty (20)
months of incarceration for this offense under the Youth Rehabilitation Act. Therefore, the defendant
was aware at the time of his arrest in this case that he had prior convictions for crimes punishable by
more than one year.

 

 

OFFICER BRANDON JOSEPH
METROPOLITAN POLICE DEPARTMENT

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 12% day of December, 2020. rs 2 2020.12.12
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ZIA M. FARUQUI
U.S. MAGISTRATE JUDGE
